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ByECF                                                                               January 11, 2019

The Honorable LaShann DeArcy Hall
United States District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re: Elliott v. Donegan et al, l: 18-cv-05680-LDH-SJB

Dear Judge DeArcy Hall:

         Pursuant to Rule III.A of Your Honor's Individual Practices, we write this letter on behalf
of defendant Moira Donegan to request a pre-motion conference in connection with our intent to
file a motion to dismiss under Rule 12(b)( 6) and a motion to stay discovery pending a decision on
our motion to dismiss. Mr. Elliott's counsel has informed us that he will not consent to a stay of
discovery. We submit this letter to Your Honor (instead of Magistrate Judge Bulsara) because
there is substantial overlap between the legal issues presented in the motion to stay and the motion
to dismiss, for which a request for a pre-motion conference is required.

       Mr. Elliott's Claims Against Ms. Donegan Should Be Dismissed Under Rule 12(b)(6)

         "To withstand a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to state a claim for relief that is plausible on its face." Gershberg v. Bd of
Directors of Nostrand Gardens Coop. Inc., No. 8-Civ-1980, 2018 WL 4471634, at *1 (E.D.N.Y.
Sept. 17, 2018) (citations omitted). "A claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged." Id "The plausibility standard is not akin to a 'probability requirement,' but
it asks for more than a sheer possibility that a defendant has acted unlawfully." Id

        According to the Complaint, Ms. Donegan created an online spreadsheet entitled "Shitty
Media Men" (the "List") to encourage women to report allegations of sexual misconduct. , 1. On
October 11, 2017, somebody added Mr. Elliott's name to the List. , 19. Some combination of
persons amended his entry to read, "Rape accusations, sexual harassment, coercion, unsolicited
invitations to his apartment, a dude who snuck into Binders???" , 20 ("Binders" is a Facebook
group for female writers). Someone wrote, "Multiple women allege misconduct." Id Someone
highlighted his entry in red, to indicate that he had been accused of "physical sexual violence by
multiple women.", 23. Mr. Elliott alleges that the "entirety of [his] entry" was false., 19. He adds
that everyone who contributed to the List knew that the claims about him were false, since his
"preferences as a submissive male in a BDSM context" are "commonly known in the [media]
industry.", 49. He opines that Ms. Donegan hates men., 50.
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         Even accepting these allegations as true, Mr. Elliott's defamation claim is meritless. As a
writer and producer who promotes his works at "publicity events," "interviews," and "panels"-
and whose writing and sexual preferences are supposedly "commonly known"-Mr. Elliott
qualifies as a public figure. ,r,r 15, 29, 44, 49; see James v. Gannett Co., 40 N.Y.2d 415,422 (N.Y.
1976) (holding that anyone who "has taken an affirmative step to attract public attention" falls into
the "necessarily broad" category of "public figure"). The First Amendment therefore requires him
to allege plausibly that Ms. Donegan published any defamatory statements with "'actual malice'-
that is, with knowledge that the statements were false or with reckless disregard as to their falsity."
Biro v. Conde Nast, 807 F.3d 541, 544 (2d Cir. 2015). At minimum, because this case involves
speech regarding sexual assaults by powerful men in the media industry-a subject "within the
sphere oflegitimate public concem"-Mr. Elliott must allege that Ms. Donegan "acted in a grossly
irresponsible manner." Chapadeau v. Utica Observer-Dispatch, 38 N.Y.2d 196, 199 (1975).

       Mr. Elliott comes nowhere close to satisfying this requirement. To start, he does not allege
what role Ms. Donegan played in publishing the relevant statements. In a textbook example of
improper pleading, he asserts that various unspecified Defendants defamed him: maybe with Ms.
Donegan's involvement, and maybe without it; maybe as part of a conspiracy among anonymous
contributors, and maybe not. Contra Bell At!. Corp. v. Twombly, 550 U.S. 544, 556-57 (2007).

        Things only get worse when it comes to pleading that the statements were published with
actual malice-that is, with knowledge of falsity. Contra Biro, 807 F.3d at 544 (requiring that
constitutional malice be pleaded with particularity). Mr. Elliott's principal allegation is that,
because he is a well-known BDSM submissive, he "could not physically participate" in the alleged
misconduct. ,r 15. As a factual matter, this "too submissive to rape" defense is obviously absurd.
Regardless, it does not plausibly follow that whoever published or edited Mr. Elliott's entry on the
List (a) agreed that BDSM submissives cannot engage in rape; and (b) nonetheless decided to
falsely accuse him. This allegation thus fails to support Mr. Elliott's burden under Twombly and
Biro-particularly given the glaring absence of any allegation that Ms. Donegan knew anything
about Mr. Elliott. Indeed, Mr. Elliott's only allegation about Ms. Donegan's state of mind is that
she has "hatred of men." ,r 50. But even if that were true, Mr. Elliott fails to allege why, if
Ms. Donegan hates all men, she decided to publish a knowingly false accusation against him. It
would make a mockery of the law to hold that any woman charged in a complaint with "hatred of
men" will be presumed to have acted with actual malice in a defamation case like this one. 1

        Ultimately, Mr. Elliott offers no particularized allegations supporting the inference that
Ms. Donegan (or anyone else) knowingly defamed him. This claim should therefore be dismissed,
particularly given the importance of "resolving defamation claims at the pleading stage, so as not
to protract litigation through discovery and trial and thereby chill the exercise of constitutionally
protected freedoms." Biro v. Conde Nast, 883 F. Supp. 2d 441,457 (S.D.N.Y. 2012).

       Nor will Mr. Elliott's "extremely disfavored" emotional distress claims survive under
Rule 12(b)(6). Hogan v. JP. Morgan Chase Bank, No. 05-Civ-5342, 2008 WL 4185875, at *4
(E.D.N.Y. Sept. 4, 2008). The Complaint fails to allege that Ms. Donegan engaged in conduct

         Mr. Elliott also conjectures that malice might be inferred from the failure of Ms. Donegan-and all other
Defendants-to verify the information published on the List., 49. Not so. "There is a critical difference between not
knowing whether something is true and being highly aware that it is probably false. Only the latter establishes reckless
disregard in a defamation action." Liberman v. Ge/stein, 80 N.Y.2d 429,438 (N.Y. 1992).
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directed at Mr. Elliott that was "so outrageous in character and so extreme in degree, as to go
beyond all possible bounds of decency, and to be regarded as atrocious and utterly intolerable in a
civilized community." Howell v. New York Post Co., 612 N.E.2d 699, 703 (N.Y. 1993). Further,
for the reasons given above, the Complaint fails to allege intentional infliction of harm, see id. at
702, and fails to allege the existence of a relationship or duty that could support liability on a
negligence theory, Johnson v. State of New York, 334 N.E.2d 590, 592 (N.Y. 1975).

        Not only do Mr. Elliott's claims fail on their own terms; they are also precluded by the
Communications Decency Act, 47 U.S.C. § 230. See Fed. Trade Comm 'n v. LeadClick Media,
LLC, 838 F.3d 158, 173 (2d Cir. 2016). Ms. Donegan is allegedly a provider and user of an
"interactive computer service": the Google Docs spreadsheet. But she did not provide any content
in that spreadsheet; the closest Mr. Elliott comes to suggesting otherwise is alleging that
Ms. Donegan outlined his entry in red "along with" others. ,r 23. (The Complaint does not explain
how multiple people allegedly highlighted his entry in red-a discrete action that only a single
person could perform.) This allegation; even if true, does not overcome Ms. Donegan's CDA
immunity. See Ascentive, LLC v. Opinion Corp., 842 F. Supp. 2d 450,476 (E.D.N.Y. 2011).

       The Court Should Stay Discovery Pending a Ruling on Our Motion to Dismiss

        In deciding whether to stay discovery, courts primarily consider "1) whether the defendant
has made a strong showing that the plaintiffs claim is unmeritorious; 2) the breadth of discovery
and the burden of responding to it; and 3) the risk of unfair prejudice to the party opposing the
stay." Forsher v. JM Smucker Co., No. 15-Civ-7180, 2016 WL 5678567, at *1 (E.D.N.Y. Sept.
30, 2016). For the reasons given above, the first factor cuts strongly in favor of a stay.

        Turning to the second factor, permitting immediate discovery will substantially burden Ms.
Donegan and the Does, eviscerating their right to anonymous speech while chilling protected
expression by other victims of sexual assault. See Michelle Kaminsky, "Shitty Media Men"
Defamation Lawsuit Is a Danger to Both Free Speech and the #MeToo Movement, FORBES (Oct.
22, 2018); Aaron Mackey, Lawsuit Seeking to Unmask Contributors to "Shitty Media Men" List
Would Violate Anonymous Speakers' First Amendment Rights, EFF (Oct. 16, 2018). That is no
accident: Mr. Elliott's lawyer has publicly gloated that his wide-ranging discovery strategy might
turn this into a "500-person RICO case." Bari Weiss, What Do You Do When You Are Anonymously
Accused of Rape?, THE NEW YORK TIMES (Oct. 13, 2018). To safeguard free speech and equal
protection principles, this Court should reject Mr. Elliott's efforts to use legal process against
women who have disclosed wrongdoing to protect other women. See Bruce Johnson, Worried
About Getting Sued for Reporting Sexual Abuse?, ACLU (Jan. 22, 2018).

         A stay is especially appropriate in this case because efforts to unmask the Does-or to
engage in other discovery-would raise difficult legal issues and spark expensive, time-consuming
litigation in multiple jurisdictions. See Arista Records, LLC v. Doe 3, 604 F.3d 110, 119 (2d Cir.
201 O); Eriq Gardner, Google to Fight Subpoena Demands Over "Shitty Media Men" Spreadsheet,
HOLLYWOOD REPORTER (Oct. 12, 2018). Many of these court battles would involve weighty
questions about the constitutional right to anonymous speech, the merits of Mr. Elliott's
defamation claims against Ms. Donegan and the Does, how to structure appropriation limitations
on discovery, and whether the high standard for unmasking is satisfied. The unusual litigation and
judicial costs associated with such litigation would be avoided if the case were dismissed under
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Rule 12(b)(6). See Chesney v. Valley Stream Union Free Sch. Dist. No. 24, 236 F.R.D. 113, 116
(E.D.N.Y. 2006).

        Finally, staying discovery until this Court decides our motion to dismiss will not cause
unfair prejudice to Mr. Elliott. See, e.g., Boris/ow v. Canaccord Genuity Grp. Inc., No. 14-Civ-
80134, 2014 WL 12580035, at *1 (S.D. Fla. June 24, 2014). And to the extent Mr. Elliott identifies
any potential burdens of a stay, they are decisively outweighed by the extraordinary weakness of
his allegations-and by the profound societal and constitutional harms of authorizing immediate,
wide-ranging discovery in these sensitive circumstances. See Weyrich v. New Republic, Inc., 235
F.3d 617, 628 (D.C. Cir. 2001) ("[T]rial courts are understandably wary of allowing unnecessary
discovery where First Amendment values might be threatened.").

        Accordingly, Ms. Donegan respectfully requests that the Court stay discovery pending a
ruling on her motion to dismiss and that it schedule a pre-motion conference.



                                                    Respectfully submitted,



                                                    Roberta A. Kaplan
